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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                            Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                DECLARATION OF JEFFREY M. GOULD

            I, Jeffrey M. Gould, hereby declare pursuant to 28 U.S.C. § 1746 that the following

     statements are true and correct to the best of my personal knowledge and belief:

            1.         I am Senior Counsel Oppenheim + Zebrak, LLP, and am admitted to practice law

     in the District of Columbia, among other jurisdictions. I am counsel for Plaintiffs in the above-

     captioned case.

            2.         I submit this declaration in support of Plaintiffs’ Motion to Compel and Plaintiffs’

     Reply in Support of Plaintiffs’ Motion to Compel. I have knowledge of the facts stated herein

     based on personal knowledge or information learned in the course of my involvement in this case.

     If called upon to do so, I am able to testify competently to the matters as stated herein.

            3.         True and correct copies of the following exhibits are attached to Plaintiffs’ Reply

     Memorandum in Support of Plaintiffs’ Motion to Compel:

                 A. SAP America, Inc. v. Investpic, LLC, Civil Action No. 3:16-CV-02689-K

                       (N.D. Tex., Dec. 04, 2018)

                 B. BMG v. Cox, PX-1330 (redacted, subject to motion to seal)
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            C. BMG v. Cox, PX-1456 (redacted, subject to motion to seal)

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed on February 8, 2019 in Washington, District of Columbia.



                                              /s/ Jeffrey M. Gould
